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        United States District
                                .Eastern District of Virginia.
                                      Norfolk Division




JOHN MATTHEWS,

                                                      case number: 2:11cv141
        Plaintiff(s)
v.



PORTFOLIO RECOVERY
ASSOCIATES, L.L.C.,

        Defendant(s)



                         JUDGMENT ON OFFER OF JUDGMENT

       The defendant, Portfolio Recovery Associates, LLC, by counsel, having offered by
notice in writing pursuant to Rule 68, Federal Rules of Civil Procedure to permit judgment
against it, and the plaintiff, John Matthews, having duly accepted defendant's offer by
notice in writing; and the offer and notice of acceptance together with proof of service
thereon having been filed, it is

        ORDERED AND ADJUDGED that the plaintiff, John Matthews, have and recover of
the defendant, Portfolio Recovery Associates, LLC, the total amount of $1,001.00, (One
Thousand One Dollars and no cents), plus reasonable attorney's fees and costs, through
the date of the Offer of Judgment, as may be determined by the Court; actual costs for the
filing fee of the complaint in the U.S. District Court; and actual costs for service of the
summons and complaint upon Portfolio Recovery Associates, LLC.




DATE:   May 11. 201 *\                                           Fernando Galindo. Clerk




                                                                 (By)Deputy Clerk
